                        IN THE UNITED STATES DISTRICT COURT                            Motion GRANTED.
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                              )
                                                      )
vs.                                                   )       NO. 3:14-cr-00101
                                                      )       JUDGE TRAUGER
BRYAN PUCKETT                                         )

         ____________________________________________________________________

                            MOTION TO CONTINUE TRIAL
         ____________________________________________________________________


          Comes the Defendant, BRYAN PUCKETT, by and through counsel, and moves the Court

to continue the trial of this matter presently set for September 16, 2014.

          The Defendant needs additional time for him and his counsel to review and analyze many

documents relating to complex financial transactions as part of the discovery in this case.

          Counsel for the Government has indicated no opposition to a continuance. Counsel for the

Defendant verily believes that none of the other co-defendants would oppose a continuance of the

trial.

          The Defendant has attached his executed Waiver of Right to Speedy Trial.

          WHEREFORE, for the reasons stated, the Defendant prays the Motion be granted and the

trial reset.

                                                      Respectfully submitted,


                                                      ___s/ Michael J. Flanagan_______________
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